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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     JOHN                                                             JOANNA
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        DONALD                                                           MARIE DAY
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   FUERST                                                           FUERST
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names. ASF VOLACIOUS BRANDS, LLC                                             ASF VOLACIOUS BRANDS, LLC
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7892                                                      xxx-xx-2454
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   JOHN DONALD FUERST
Debtor 2   JOANNA MARIE DAY FUERST                                                                   Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 753 IDAHO AVE W
                                 Saint Paul, MN 55117
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Ramsey
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    JOHN DONALD FUERST
Debtor 2    JOANNA MARIE DAY FUERST                                                                       Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    JOHN DONALD FUERST
Debtor 2    JOANNA MARIE DAY FUERST                                                                       Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code, and           operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    are you a small business       in 11 U.S.C. § 1116(1)(B).
    debtor?
    For a definition of small         No.      I am not filing under Chapter 11.
    business debtor, see 11
    U.S.C. § 101(51D).
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    JOHN DONALD FUERST
Debtor 2    JOANNA MARIE DAY FUERST                                                                    Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    JOHN DONALD FUERST
Debtor 2    JOANNA MARIE DAY FUERST                                                                       Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ JOHN DONALD FUERST                                            /s/ JOANNA MARIE DAY FUERST
                                 JOHN DONALD FUERST                                                JOANNA MARIE DAY FUERST
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     April 17, 2025                                    Executed on     April 17, 2025
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   JOHN DONALD FUERST
Debtor 2   JOANNA MARIE DAY FUERST                                                                        Case number (if known)



For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ JOHN D. LAMEY III                                              Date         April 17, 2025
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                JOHN D. LAMEY III 0312009
                                Printed name

                                LAMEY LAW FIRM, P.A.
                                Firm name

                                980 INWOOD AVE N
                                OAKDALE, MN 55128-7094
                                Number, Street, City, State & ZIP Code

                                Contact phone     651.209.3550                               Email address         JLAMEY@LAMEYLAW.COM
                                0312009 MN
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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Fill in this information to identify your case:

Debtor 1                   JOHN DONALD FUERST
                           First Name                           Middle Name                          Last Name

Debtor 2                   JOANNA MARIE DAY FUERST
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  DISTRICT OF MINNESOTA

Case number
(if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $            330,000.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $             37,380.30

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $            367,380.30

Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $            244,461.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $               7,002.74

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $         1,795,829.54


                                                                                                                                    Your total liabilities $              2,047,293.28


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................               $             10,478.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $             10,432.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
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Debtor 1   JOHN DONALD FUERST
Debtor 2   JOANNA MARIE DAY FUERST                                                      Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                    $


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

     9d. Student loans. (Copy line 6f.)                                                                 $

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


     9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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Fill in this information to identify your case and this filing:

Debtor 1                    JOHN DONALD FUERST
                            First Name                                 Middle Name                    Last Name

Debtor 2                    JOANNA MARIE DAY FUERST
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      DISTRICT OF MINNESOTA

Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       753 IDAHO AVE W                                                                Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the         Current value of the
       Saint Paul                        MN        55117-0000                         Land                                       entire property?             portion you own?
       City                              State              ZIP Code                  Investment property                               $330,000.00                  $330,000.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              FEE SIMPLE
       Ramsey                                                                         Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               LEGALLY DESCRIBED AS: SEE ATTACHED EXHIBIT A, RAMSEY
                                                                               COUNTY, MINNESOTA
                                                                               PID: 23-29-23-120-035


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                        $330,000.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                    page 1
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Debtor 1         JOHN DONALD FUERST
Debtor 2         JOANNA MARIE DAY FUERST                                                                           Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      CHRYSLER                                 Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     PACIFICA                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2019                                        Debtor 2 only
                                                                                                                             Current value of the     Current value of the
         Approximate mileage:              75,000+              Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another
         VIN: 2C4RC1GG6KR500230
                                                                Check if this is community property                                  $22,000.00                 $22,000.00
                                                                 (see instructions)



  3.2    Make:      TOYOTA                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     PRIUS                                       Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2005                                        Debtor 2 only                                                Current value of the     Current value of the
         Approximate mileage:            250,000+               Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another
         VIN: JTDKB20U253031869
                                                                Check if this is community property                                      $600.00                    $600.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:      SEASTAR                                  Who has an interest in the property? Check one
                                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     CAPRI BOAT                                  Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      1976                                        Debtor 2 only
                                                                                                                             Current value of the     Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                  $1,000.00                   $1,000.00
                                                                 (see instructions)




5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $23,600.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   NORMAL HOUSEHOLD GOODS AND FURNISHINGS                                                                                         $5,000.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
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Debtor 2      JOANNA MARIE DAY FUERST                                                               Case number (if known)


                               GAS GENERATOR $100
                               LAWN MOWER $50
                               LEAF BLOWER $20
                               WEED WACKER $10
                               POWER SPRAYER $30
                               SCROLL SAW $5
                               6 FOOT LADDER $25
                               7 FOOT LADDER $40
                               TOBAGGAN $20
                               BIKE KID TRAILER $5
                               SNOW BLOWER $50
                               WIRE FEED WELDER $50
                               TOOL BOX $25
                               WORK BENCH TABLE $10
                               BOUNCY HOUSE $20
                               LINEAR SANDER $10
                               SUMP PUMP $5
                               RADIAL SAW $10
                               PLANAR TOOL $10
                               MITER SAW $10
                               SCROLL SAW $5                                                                                                       $510.00


                               HOT TUB                                                                                                           $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               APPLE TELEVISION $20
                               3 TELEVISIONS $360
                               NINTENDO SWITCH $100
                               BLUERAY PLAYER $30
                               HOME THEATER SYSTEM $30
                               SPEAKER SYSTEM $20
                               RECORD PLAYER $5
                               WINDOWS GAME SYSTEM $100
                               2 ELECTRIC RADIATORS $10
                               3 KID IPADS $270
                               2 AMAZON KINDLE KIDS FIRE $60
                               WIFI NETWORK $50
                               NETWORK STORAGE $400
                               COMPUTER $100
                               PRINTER $25
                               PHOTO SCANNER $25
                               SHREDDER $5
                               3 LAPTOPS $360                                                                                                    $1,970.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No

Official Form 106A/B                                         Schedule A/B: Property                                                                   page 3
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Debtor 2        JOANNA MARIE DAY FUERST                                                                                     Case number (if known)

      Yes. Describe.....

                                          3 BIKES $40
                                          GOLF CLUBS $50                                                                                                              $90.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                          NORMAL WEARING APPAREL                                                                                                     $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          WEDDING RINGS                                                                                                              $950.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $11,420.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               CASH ON
                                                                                                                               HAND                                   $10.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:




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Debtor 1        JOHN DONALD FUERST
Debtor 2        JOANNA MARIE DAY FUERST                                                                    Case number (if known)



                                   17.1.    CHECKING                     RIVERLAND BANK                                                           $5.00



                                   17.2.    H.S.A.                       BLAZE CREDIT UNION                                                     $373.00



                                   17.3.    SAVINGS                      RIVERLAND BANK                                                           $0.00



                                   17.4.    CHECKING 5259                RIVERLAND BANK                                                         $342.00



                                   17.5.    CHECKING                     DISCOVER BANK                                                          $108.30



                                   17.6.    APP                          VENMO                                                                   $20.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                            % of ownership:

                                     VOLACIOUS BRANDS, LLC (NO VALUE, FILED
                                     CHAPTER 7 ON 12-31-24, CASE NUMBER:
                                     24-33457)                                                                   100          %                   $0.00


                                     RIZZ HOMES, LLC                                                             100          %                   $0.00


                                     ZOTA INC (DELAWARE COMPANY)                                                 100          %                   $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                           Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                         Institution name or individual:

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Debtor 2       JOANNA MARIE DAY FUERST                                                              Case number (if known)

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............     Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

                                       MINNESOTA REAL ESTATE SALES LICENSE                                                                         $0.00


Money or property owed to you?                                                                                                    Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                                                                          FEDERAL,
                                                                                                             MINNESOTA
                                                                                                             STATE, AND
                                                2024 TAX REFUNDS (TAXES ARE BEING                            MN PROPERTY
                                                    WORKED ON)                                               TAX REFUND                       Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

                                              ACCRUED BUT UNPAID WAGES                                                                        $1,500.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                               Beneficiary:                            Surrender or refund
Official Form 106A/B                                         Schedule A/B: Property                                                                 page 6
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Debtor 1        JOHN DONALD FUERST
Debtor 2        JOANNA MARIE DAY FUERST                                                                                         Case number (if known)

                                                                                                                                                                 value:

                                            TERM LIFE INSURANCE, NO CASH
                                            VALUE                                                                    SPOUSE                                                     $1.00


                                            TERM LIFE INSURANCE, NO CASH
                                            VALUE                                                                    SPOUSE                                                     $1.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................               $2,360.30


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00




Official Form 106A/B                                                          Schedule A/B: Property                                                                             page 7
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Debtor 1         JOHN DONALD FUERST
Debtor 2         JOANNA MARIE DAY FUERST                                                                                               Case number (if known)

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................            $330,000.00
56. Part 2: Total vehicles, line 5                                                                           $23,600.00
57. Part 3: Total personal and household items, line 15                                                      $11,420.00
58. Part 4: Total financial assets, line 36                                                                   $2,360.30
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $37,380.30              Copy personal property total           $37,380.30

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $367,380.30




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                               EXHIBIT A

That part of Lot 5, Block 1, "Como" beginning at a point on
South line of Lot 5, 107.57 feet East of the Southwest comer
thereof; thence North 150 feet to a point 107 .33 feet East of
the West llne of Lot 5; thence East 47.29 feet parallel with the
South line of Lot 5; thence South 150 feet to a point on the
South line of Lot 5, 47 feet East of the point of beginning,
thence West to point to beginning, Ramsey County, Minnesota.
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 Fill in this information to identify your case:

 Debtor 1                  JOHN DONALD FUERST
                           First Name                       Middle Name                 Last Name

 Debtor 2                  JOANNA MARIE DAY FUERST
 (Spouse if, filing)       First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MINNESOTA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/25

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      753 IDAHO AVE W Saint Paul, MN                                 $330,000.00                              $510,000.00      Minn. Stat. §§ 510.01, 510.02
      55117 Ramsey County
      LEGALLY DESCRIBED AS: SEE                                                            100% of fair market value, up to
      ATTACHED EXHIBIT A, RAMSEY                                                           any applicable statutory limit
      COUNTY, MINNESOTA
      PID: 23-29-23-120-035
      Line from Schedule A/B: 1.1

      2019 CHRYSLER PACIFICA 75,000+                                  $22,000.00                               $20,000.00      Minn. Stat. § 550.37 subd.
      miles                                                                                                                    12a(1)
      VIN: 2C4RC1GG6KR500230                                                               100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2005 TOYOTA PRIUS 250,000+ miles                                    $600.00                                  $600.00     Minn. Stat. § 550.37 subd. 28
      VIN: JTDKB20U253031869
      Line from Schedule A/B: 3.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      1976 SEASTAR CAPRI BOAT                                          $1,000.00                                 $1,000.00     Minn. Stat. § 550.37 subd. 28
      Line from Schedule A/B: 4.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
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 Debtor 2    JOANNA MARIE DAY FUERST                                                                     Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     NORMAL HOUSEHOLD GOODS AND                                       $5,000.00                                  $5,000.00        Minn. Stat. § 550.37 subd. 4(b)
     FURNISHINGS
     Line from Schedule A/B: 6.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     GAS GENERATOR $100                                                  $510.00                                   $510.00        Minn. Stat. § 550.37 subd. 27
     LAWN MOWER $50
     LEAF BLOWER $20                                                                       100% of fair market value, up to
     WEED WACKER $10                                                                       any applicable statutory limit
     POWER SPRAYER $30
     SCROLL SAW $5
     6 FOOT LADDER $25
     7 FOOT LADDER $40
     TOBAGGAN $20
     BIKE KID TRAILER $5
     SNOW BLOWER $50
     WIRE FEED WELDER $50
     TOOL BOX $25
     WORK BENCH TABLE $10
     BOUN
     Line from Schedule A/B: 6.2

     HOT TUB                                                          $2,500.00                                       $1.00       Minn. Stat. § 550.37 subd. 28
     Line from Schedule A/B: 6.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     APPLE TELEVISION $20                                             $1,970.00                                  $1,970.00        Minn. Stat. § 550.37 subd. 27
     3 TELEVISIONS $360
     NINTENDO SWITCH $100                                                                  100% of fair market value, up to
     BLUERAY PLAYER $30                                                                    any applicable statutory limit
     HOME THEATER SYSTEM $30
     SPEAKER SYSTEM $20
     RECORD PLAYER $5
     WINDOWS GAME SYSTEM $100
     2 ELECTRIC RADIATORS $10
     3 KID IPADS $270
     2 AMAZON KINDLE KIDS FIRE $60
     WIFI NET
     Line from Schedule A/B: 7.1

     3 BIKES $40                                                          $90.00                                    $90.00        Minn. Stat. § 550.37 subd. 28
     GOLF CLUBS $50
     Line from Schedule A/B: 9.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     NORMAL WEARING APPAREL                                              $400.00                                   $400.00        Minn. Stat. § 550.37 subd. 4(a)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     WEDDING RINGS                                                       $950.00                                   $950.00        Minn. Stat. § 550.37 subd. 4(c)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
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 Debtor 2    JOANNA MARIE DAY FUERST                                                                     Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     CASH ON HAND                                                         $10.00                                    $10.00        Minn. Stat. § 550.37 subd. 28
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CHECKING: RIVERLAND BANK                                               $5.00                                     $5.00       Minn. Stat. § 550.37 subd. 28
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     H.S.A.: BLAZE CREDIT UNION                                          $373.00                                   $500.00        Minn. Stat. § 550.37 subd.
     Line from Schedule A/B: 17.2                                                                                                 26(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CHECKING 5259: RIVERLAND BANK                                       $342.00                                       75%        Minn. Stat. § 550.37 subd. 13
     Line from Schedule A/B: 17.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CHECKING 5259: RIVERLAND BANK                                       $342.00                                    $85.50        Minn. Stat. § 550.37 subd. 28
     Line from Schedule A/B: 17.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CHECKING: DISCOVER BANK                                             $108.30                                   $108.30        Minn. Stat. § 550.37 subd. 28
     Line from Schedule A/B: 17.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     APP: VENMO                                                           $20.00                                    $20.00        Minn. Stat. § 550.37 subd. 28
     Line from Schedule A/B: 17.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     ACCRUED BUT UNPAID WAGES                                         $1,500.00                                        75%        Minn. Stat. § 550.37 subd. 13
     Line from Schedule A/B: 30.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     ACCRUED BUT UNPAID WAGES                                         $1,500.00                                    $375.00        Minn. Stat. § 550.37 subd. 28
     Line from Schedule A/B: 30.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     TERM LIFE INSURANCE, NO CASH                                           $1.00                                     $1.00       Minn. Stat. § 550.37 subd. 23
     VALUE
     Beneficiary: SPOUSE                                                                   100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit

     TERM LIFE INSURANCE, NO CASH                                           $1.00                                     $1.00       Minn. Stat. § 550.37 subd. 23
     VALUE
     Beneficiary: SPOUSE                                                                   100% of fair market value, up to
     Line from Schedule A/B: 31.2                                                          any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
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                 Case 25-31131                    Doc 1          Filed 04/17/25 Entered 04/17/25 12:43:19                 Desc Main
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 Debtor 1    JOHN DONALD FUERST
 Debtor 2    JOANNA MARIE DAY FUERST                                                            Case number (if known)

 3. Are you claiming a homestead exemption of more than $214,000?
    (Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                  page 4 of 4
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                               EXHIBIT A

That part of Lot 5, Block 1, "Como" beginning at a point on
South line of Lot 5, 107.57 feet East of the Southwest comer
thereof; thence North 150 feet to a point 107 .33 feet East of
the West llne of Lot 5; thence East 47.29 feet parallel with the
South line of Lot 5; thence South 150 feet to a point on the
South line of Lot 5, 47 feet East of the point of beginning,
thence West to point to beginning, Ramsey County, Minnesota.
                      Case 25-31131              Doc 1          Filed 04/17/25 Entered 04/17/25 12:43:19                                     Desc Main
                                                                 Document     Page 24 of 93
Fill in this information to identify your case:

Debtor 1                   JOHN DONALD FUERST
                           First Name                      Middle Name                      Last Name

Debtor 2                   JOANNA MARIE DAY FUERST
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             DISTRICT OF MINNESOTA

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        ROUNDPOINT
2.1     MORTGAGE SERVICING
        CORP.                                    Describe the property that secures the claim:               $230,712.00               $330,000.00                     $0.00
        Creditor's Name                          753 IDAHO AVE W Saint Paul, MN
                                                 55117 Ramsey County
                                                 LEGALLY DESCRIBED AS: SEE
                                                 ATTACHED EXHIBIT A, RAMSEY
                                                 COUNTY, MINNESOTA
                                                 PID: 23-29-23-120-035
                                                 As of the date you file, the claim is: Check all that
        PO BOX 19789                             apply.
        Charlotte, NC 28219-9409                     Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   MORTGAGE
      community debt

Date debt was incurred                                    Last 4 digits of account number        2473




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
                 Case 25-31131                    Doc 1            Filed 04/17/25 Entered 04/17/25 12:43:19                                 Desc Main
                                                                    Document     Page 25 of 93
Debtor 1 JOHN DONALD FUERST                                                                                  Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 JOANNA MARIE DAY FUERST
              First Name                  Middle Name                      Last Name


2.2     TD AUTO FINANCE                            Describe the property that secures the claim:                    $11,049.00           $22,000.00            $0.00
        Creditor's Name                            2019 CHRYSLER PACIFICA 75,000+
                                                   miles
                                                   VIN: 2C4RC1GG6KR500230
                                                   As of the date you file, the claim is: Check all that
        PO BOX 9223                                apply.
        Farmington, MI 48333                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   TITLE LIEN
      community debt

Date debt was incurred                                      Last 4 digits of account number         0450

        WOODLANDS NATIONAL
2.3                                                Describe the property that secures the claim:                      $2,700.00           $2,500.00         $200.00
        BANK
        Creditor's Name                            HOT TUB

                                                   As of the date you file, the claim is: Check all that
        424 MAIN STREET                            apply.
        Onamia, MN 56359                                Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   PMSI
      community debt

Date debt was incurred                                      Last 4 digits of account number



  Add the dollar value of your entries in Column A on this page. Write that number here:                                   $244,461.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                  $244,461.00

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
                      Case 25-31131              Doc 1           Filed 04/17/25 Entered 04/17/25 12:43:19                                           Desc Main
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Fill in this information to identify your case:

Debtor 1                     JOHN DONALD FUERST
                             First Name                    Middle Name                       Last Name

Debtor 2                     JOANNA MARIE DAY FUERST
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                DISTRICT OF MINNESOTA

Case number
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority               Nonpriority
                                                                                                                                            amount                 amount
2.1          MINNESOTA DEPT OF REV                                Last 4 digits of account number                            $7,002.74             $7,002.74                    $0.00
             Priority Creditor's Name
             COLLECTION DIVISION                                  When was the debt incurred?
             PO BOX 64564
             Saint Paul, MN 55164-0564
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       PRIORITY TAXES


Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 28
                                                                                                               29617
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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.1      AAA VISA                                            Last 4 digits of account number       6765                                             $5,995.47
         Nonpriority Creditor's Name
         PO BOX 790408                                       When was the debt incurred?
         Saint Louis, MO 63179
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.2      ACTIVE HEALTH CHIROPRACTIC                          Last 4 digits of account number       5781                                               $70.50
         Nonpriority Creditor's Name
         1278 SELBY AVE                                      When was the debt incurred?
         Saint Paul, MN 55104
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL


4.3      AFFIRM INC                                          Last 4 digits of account number                                                         $222.00
         Nonpriority Creditor's Name
         650 CALIFORNIA ST FL 12                             When was the debt incurred?
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 28
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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.4      ALLINA HEALTH                                       Last 4 digits of account number                                                        $1,145.45
         Nonpriority Creditor's Name
         ATTN: BILLING                                       When was the debt incurred?
         PO BOX 43, MAIL ROUTE 10807
         MINNEAPOLIS, MN 55440
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL


4.5      ALLINA HEALTH LABORATORY                            Last 4 digits of account number                                                         $103.66
         Nonpriority Creditor's Name
         PO BOX 342                                          When was the debt incurred?
         Minneapolis, MN 55440
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL


4.6      AMAZON                                              Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         LEGAL DEPARTMENT                                    When was the debt incurred?
         PO BOX 81226
         Seattle, WA 98108-1226
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED/BUSINESS




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 28
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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.7      AMERICAN EXPRESS                                    Last 4 digits of account number       1007                                             $2,961.00
         Nonpriority Creditor's Name
         PO BOX 60189                                        When was the debt incurred?
         City of Industry, CA 91716
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.8      AMERICAN EXPRESS                                    Last 4 digits of account number                                                    $25,470.63
         Nonpriority Creditor's Name
         PO BOX 981535                                       When was the debt incurred?
         El Paso, TX 79998-1535
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.9      APPLE CARD                                          Last 4 digits of account number                                                        $4,898.33
         Nonpriority Creditor's Name
         GOLDMAN SACHS BANK                                  When was the debt incurred?
         LOCKBOX 6112, PO BOX 7247
         Philadelphia, PA 19170-6112
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 28
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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.1
0        APPLE CARD                                          Last 4 digits of account number                                                        $8,313.00
         Nonpriority Creditor's Name
         GOLDMAN SACHS BANK                                  When was the debt incurred?
         LOCKBOX 6112, PO BOX 7247
         Philadelphia, PA 19170-6112
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.1      BANDANA SQUARE ALLINA
1        HEALTH                                              Last 4 digits of account number                                                          $15.80
         Nonpriority Creditor's Name
         1021 BANDANA BLVD E SUITE 100                       When was the debt incurred?
         Saint Paul, MN 55108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL


4.1
2        BAYFIRST NATIONAL BANK                              Last 4 digits of account number                                                    $202,000.00
         Nonpriority Creditor's Name
         700 CENTRAL AVE                                     When was the debt incurred?
         MAIL CODE 206
         Saint Petersburg, FL 33701
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 28
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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.1
3        BAYFIRST NATIONAL BANK                              Last 4 digits of account number                                                    $72,564.47
         Nonpriority Creditor's Name
         700 CENTRAL AVE                                     When was the debt incurred?
         MAIL CODE 206
         Saint Petersburg, FL 33701
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.1
4        biBerk                                              Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         PO BOX 113247                                       When was the debt incurred?
         Stamford, CT 06911-3247
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.1
5        BILL.COM                                            Last 4 digits of account number                                                    $12,686.00
         Nonpriority Creditor's Name
         6220 AMERICA CENTER DRIVE                           When was the debt incurred?
         SUITE 100
         Alviso, CA 95002
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 28
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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.1
6        BOGO PEST CONTROL                                   Last 4 digits of account number                                                         $164.57
         Nonpriority Creditor's Name
         600 TWELVE OAKDS CTR 213                            When was the debt incurred?
         Wayzata, MN 55391
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.1
7        CADENCE BANK                                        Last 4 digits of account number                                                    $119,477.47
         Nonpriority Creditor's Name
         PO BOX 789                                          When was the debt incurred?
         Tupelo, MS 38802
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.1
8        Can Capital                                         Last 4 digits of account number                                                     $53,648.47
         Nonpriority Creditor's Name
         2015 Vaughn Rd                                      When was the debt incurred?
         Kennesaw, GA 30144
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.1
9        CAPITAL ONE                                         Last 4 digits of account number                                                         $621.00
         Nonpriority Creditor's Name
         BANKRUPTCY                                          When was the debt incurred?
         CORRESPONDENCE
         PO BOX 30285
         Salt Lake City, UT 84130-0285
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.2
0        CAPITAL ONE                                         Last 4 digits of account number       3590                                             $8,260.51
         Nonpriority Creditor's Name
         BANKRUPTCY                                          When was the debt incurred?
         CORRESPONDENCE
         PO BOX 30285
         Salt Lake City, UT 84130-0285
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.2
1        CAPITAL ONE                                         Last 4 digits of account number                                                        $7,690.00
         Nonpriority Creditor's Name
         PO BOX 7683                                         When was the debt incurred?
         San Francisco, CA 94120
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED



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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.2
2        CAPITAL ONE                                         Last 4 digits of account number                                                        $5,342.70
         Nonpriority Creditor's Name
         BANKRUPTCY                                          When was the debt incurred?
         CORRESPONDENCE
         PO BOX 30285
         Salt Lake City, UT 84130-0285
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.2
3        CELTIC BANK                                         Last 4 digits of account number                                                    $77,465.79
         Nonpriority Creditor's Name
         268 S STATE ST STE 300                              When was the debt incurred?
         Salt Lake City, UT 84111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.2
4        CENTRAL PEDIATRICS PA                               Last 4 digits of account number       8302                                             $1,120.00
         Nonpriority Creditor's Name
         9680 TAMARACK RD STE 100                            When was the debt incurred?
         WOODBURY, MN 55125
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL




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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.2
5        CHASE                                               Last 4 digits of account number                                                        $4,625.00
         Nonpriority Creditor's Name
         PO BOX 15548                                        When was the debt incurred?
         Wilmington, DE 19886
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.2
6        CHASE CARDMEMBER SERVICES                           Last 4 digits of account number       7937                                         $23,748.08
         Nonpriority Creditor's Name
         PO BOX 15548                                        When was the debt incurred?
         Wilmington, DE 19886
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.2
7        CHOICE BANK                                         Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         2100 W COUNTY RD C                                  When was the debt incurred?
         ROSEVILLE, MN 55113
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.2
8        CREDIT COLLECTION SERVICES                          Last 4 digits of account number                                                            $1.00
         Nonpriority Creditor's Name
         725 CANTON STREET                                   When was the debt incurred?
         Norwood, MA 02062
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 COLLECTION:TRAVELERS CASUALITY
             Yes                                                Other. Specify   INSURANCE COMPANY OF AMERICA


4.2
9        CREDITOR ADVOCATES, INC.                            Last 4 digits of account number       7314                                                 $1.00
         Nonpriority Creditor's Name
         PO BOX 1264                                         When was the debt incurred?
         PRIOR LAKE, MN 55372-0864
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   COLLECTION: IHEALTH


4.3      DEPARTMENT OF WORKFORCE
0        DEVELOPMENT                                         Last 4 digits of account number       0006                                               $64.74
         Nonpriority Creditor's Name
         DIVISION OF WORKERS                                 When was the debt incurred?
         COMPENSATION
         PO BOX 7942
         Madison, WI 53707
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM



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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.3
1        DISCOVER                                            Last 4 digits of account number       8128                                         $15,772.51
         Nonpriority Creditor's Name
         PO BOX 6103                                         When was the debt incurred?
         Carol Stream, IL 60197
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.3
2        DIVVY                                               Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         13707 SOUTH 200 W STE 100                           When was the debt incurred?
         Draper, UT 84020
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.3
3        E-STATE MEDIA                                       Last 4 digits of account number                                                        $5,000.00
         Nonpriority Creditor's Name
         185 ELM STREET                                      When was the debt incurred?
         Buffalo, NY 14203
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.3
4        EARNEST                                             Last 4 digits of account number       5491                                         $55,093.20
         Nonpriority Creditor's Name
         PO BOX 9202                                         When was the debt incurred?
         Wilkes Barre, PA 18773
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 UNSECURED
4.3
5        EARNEST                                             Last 4 digits of account number       4992                                         $28,694.00
         Nonpriority Creditor's Name
         PO BOX 9202                                         When was the debt incurred?
         Wilkes Barre, PA 18773
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 UNSECURED

4.3      EMERGENCY PHYSICIANS PROF
6        ASSC                                                Last 4 digits of account number       9928                                              $341.69
         Nonpriority Creditor's Name
         PO BOX 856561                                       When was the debt incurred?
         Minneapolis, MN 55485
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.3
7        EVALON INC                                          Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         2 CONCOURSE PARKWAY                                 When was the debt incurred?
         ATLANTA, GA 30328
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.3
8        FAIRVIEW HEALTH SERVICES                            Last 4 digits of account number                                                        $4,593.95
         Nonpriority Creditor's Name
         PO BOX 199                                          When was the debt incurred?
         Minneapolis, MN 55440
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL


4.3
9        FIRST & FIRST LLC                                   Last 4 digits of account number                                                        $1,283.00
         Nonpriority Creditor's Name
         415 TAFT ST. NE                                     When was the debt incurred?
         Minneapolis, MN 55413
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.4
0        FUNDING METRICS                                     Last 4 digits of account number                                                    $48,020.44
         Nonpriority Creditor's Name
         3220 TILLMAN DRIVE SUITE 200                        When was the debt incurred?
         Bensalem, PA 19020
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.4      GEORGIA DEPARTMENT OF
1        REVENUE                                             Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         COMPLIANCE                                          When was the debt incurred?
         DIV-ARCS-BANKRUPTCY
         1800 CENTURY BLVD NE, STE 9100
         Atlanta, GA 30345-3202
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.4
2        GRUMBLES LAW PLLC                                   Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         287 E 6TH ST STE 513                                When was the debt incurred?
         Saint Paul, MN 55101
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   POSSIBLE CLAIM




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.4
3        HEADWAY CAPITAL, LLC                                Last 4 digits of account number                                                    $53,626.24
         Nonpriority Creditor's Name
         175 W JACKSON BLVD, STE 1000                        When was the debt incurred?
         Chicago, IL 60604
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.4
4        HENNEPIN HEALTHCARE                                 Last 4 digits of account number       5806                                               $21.29
         Nonpriority Creditor's Name
         PO BOX 860048                                       When was the debt incurred?
         Minneapolis, MN 55486
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL


4.4      IHEALTH INFINITE HEALTH
5        COLLABORATIVE                                       Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         PO BOX 860596                                       When was the debt incurred?
         Minneapolis, MN 55480
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.4
6        IMAGE CAPITAL PARTNERS LLC                          Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         25 HUTCHINSON PL                                    When was the debt incurred?
         Lynbrook, NY 11563
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.4
7        INCORP SERVICES INC                                 Last 4 digits of account number                                                         $253.00
         Nonpriority Creditor's Name
         9107 WEST RUSSELL RD STE 100                        When was the debt incurred?
         Las Vegas, NV 89148
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.4
8        INFINITE HEALTH                                     Last 4 digits of account number       8620                                              $994.41
         Nonpriority Creditor's Name
         PO BOX 860596                                       When was the debt incurred?
         Minneapolis, MN 55480
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.4
9        JACK S MOORE, OD                                    Last 4 digits of account number       O000                                               $90.00
         Nonpriority Creditor's Name
         PO BOX 747                                          When was the debt incurred?
         Hollywood, MD 20636
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL


4.5
0        JPMCB                                               Last 4 digits of account number                                                    $23,748.00
         Nonpriority Creditor's Name
         P.O BOX 15369                                       When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.5
1        JPMCB CARD SERVICES                                 Last 4 digits of account number                                                    $22,436.68
         Nonpriority Creditor's Name
         PO BOX 15369                                        When was the debt incurred?
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.5
2        LEGEND FUNDING                                      Last 4 digits of account number                                                    $56,561.44
         Nonpriority Creditor's Name
         800 BRICKELL AVE SUITE 902                          When was the debt incurred?
         Miami, FL 33131
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.5
3        LG FUNDING                                          Last 4 digits of account number                                                    $26,365.00
         Nonpriority Creditor's Name
         1218 UNION ST                                       When was the debt incurred?
         Brooklyn, NY 11225
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.5
4        LUMEN                                               Last 4 digits of account number                                                        $2,158.16
         Nonpriority Creditor's Name
         PO BOX 4918                                         When was the debt incurred?
         Monroe, LA 71211
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.5
5        M HEALTH FAIRVIEW                                   Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         BILLING DEPARTMENT                                  When was the debt incurred?
         1700 UNIVERSITY AVE. W
         ST. PAUL, MN 55104
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 MEDICAL (VARIOUS ACCOUNTS AND
             Yes                                                Other. Specify   CLINICS)


4.5
6        MASSACHUSETTS DEPT OF REV                           Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         PO BOX 419540                                       When was the debt incurred?
         BOSTON, MA 02241-9540
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.5
7        MN UNEMPLOYMENT                                     Last 4 digits of account number       2618                                             Unknown
         Nonpriority Creditor's Name
         DEPT OF EMPLOYMENT &                                When was the debt incurred?
         ECONOMIC DEVELOPMEN
         PO BOX 4629
         Saint Paul, MN 55101
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED



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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.5      NORTH CAROLINA DEPARTMENT
8        OF REVENUE                                          Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         PO BOX 25000                                        When was the debt incurred?
         Raleigh, NC 27640-0640
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.5
9        POR, LLC                                            Last 4 digits of account number       4685                                              $148.50
         Nonpriority Creditor's Name
         8441 WAYZATA BOULEVARD                              When was the debt incurred?
         Minneapolis, MN 55426
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.6
0        PRINCIPAL LIFE INSURANCE CO                         Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         PO BOX 14513                                        When was the debt incurred?
         Des Moines, IA 50306-3513
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.6
1        RELIANCE RECOVERIES                                 Last 4 digits of account number       8811                                                 $1.00
         Nonpriority Creditor's Name
         PO BOX 29227                                        When was the debt incurred?
         Minneapolis, MN 55429
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   COLLECTION: BANDANA SQUARE CLINIC


4.6
2        RELIANCE RECOVERIES                                 Last 4 digits of account number       2111                                                 $1.00
         Nonpriority Creditor's Name
         PO BOX 29227                                        When was the debt incurred?
         Minneapolis, MN 55429
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   COLLECTION: ALLINA HEALTH LAB


4.6
3        REVENUE GROUP                                       Last 4 digits of account number       0371                                                 $1.00
         Nonpriority Creditor's Name
         3711 CHESTER AVE                                    When was the debt incurred?
         Cleveland, OH 44114
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   COLLECTION: HENNEPIN HEALTHCARE




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.6
4        RIVERLAND BANK                                      Last 4 digits of account number                                                          $30.00
         Nonpriority Creditor's Name
         1621 E HENNEPIN AVE STE 200                         When was the debt incurred?
         Minneapolis, MN 55414
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.6
5        SAAS LABS US, INC.                                  Last 4 digits of account number                                                         $235.00
         Nonpriority Creditor's Name
         JUST CALL                                           When was the debt incurred?
         355 BRYANT STREET, #403
         SAN FRANCISCO, CA 94107
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.6
6        STRIPE CAPITAL                                      Last 4 digits of account number                                                    $37,804.95
         Nonpriority Creditor's Name
         354 OYSTER POINT BLVD                               When was the debt incurred?
         South San Francisco, CA 94080
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.6
7        SUMMIT ORTHOPEDICS LTD                              Last 4 digits of account number                                                            $0.00
         Nonpriority Creditor's Name
         710 COMMERCE DR STE 200                             When was the debt incurred?
         Woodbury, MN 55125-4925
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL


4.6
8        TED RATTEI                                          Last 4 digits of account number                                                    $215,236.00
         Nonpriority Creditor's Name
         2317 REMO CT                                        When was the debt incurred?
         Santa Clara, CA 95054
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.6
9        THE GUARDIAN LIFE                                   Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         PO BOX 981590                                       When was the debt incurred?
         El Paso, TX 79998-1590
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM




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Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.7
0        TMOBILE USA                                         Last 4 digits of account number       8851                                             $8,039.18
         Nonpriority Creditor's Name
         ATTN BANKRUPTCY DEPT                                When was the debt incurred?
         PO BOX 53410
         Bellevue, WA 98015
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.7
1        TRAVELERS INSURANCE                                 Last 4 digits of account number                                                         $294.50
         Nonpriority Creditor's Name
         PO BOX 660317                                       When was the debt incurred?
         Dallas, TX 75266
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.7
2        URGENCY ROOM                                        Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         1159 COUNTY RD E E                                  When was the debt incurred?
         VADNAIS HTS, MN 55110
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 25 of 28
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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                 Case number (if known)

4.7
3        US BANK                                             Last 4 digits of account number                                                        $6,933.00
         Nonpriority Creditor's Name
         BANKRUPTCY/RECOVERY                                 When was the debt incurred?
         DEPARTMENT
         PO BOX 5229
         Cincinnati, OH 45201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   UNSECURED


4.7      US SMALL BUSINESS
4        ADMINISTRATION                                      Last 4 digits of account number                                                    $540,485.31
         Nonpriority Creditor's Name
         332 S MICHIGAN STE 600                              When was the debt incurred?
         Chicago, IL 60604
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 BUSINESS DEBT WITH POSSIBLE
             Yes                                                Other. Specify   PERSONAL CLAIM


4.7      VITALITY CHIROPRACTIC &
5        WELLNESS                                            Last 4 digits of account number                                                         $190.45
         Nonpriority Creditor's Name
         393 DUNLAP ST N STE 833                             When was the debt incurred?
         Saint Paul, MN 55104
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   MEDICAL




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 26 of 28
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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                   Case number (if known)

4.7
6         WISCONSIN DEPT OF REV                                Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                     When was the debt incurred?
          PO BOX 8901
          Madison, WI 53708
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   BUSINESS DEBT WITH POSSIBLE
             Yes                                                  Other. Specify   PERSONAL CLAIM


4.7
7         WOODLANDS NATIONAL BANK                              Last 4 digits of account number       9464                                                 $2,700.00
          Nonpriority Creditor's Name
          424 MAIN STREET                                      When was the debt incurred?
          Onamia, MN 56359
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   UNSECURED (HOT TUB LOAN)

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
AMAZON WEB SERVICES                                      Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
325 9TH AVE N                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Seattle, WA 98109-5210
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
AMAZON.COM INC                                           Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
ATTN GENERAL COUNSEL                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
PO BOX 81226
Seattle, WA 98108
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
CROSS RIVERS BANK                                        Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
885 TEANECK ROAD                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Teaneck, NJ 07666
                                                         Last 4 digits of account number



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 27 of 28
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Debtor 1 JOHN DONALD FUERST
Debtor 2 JOANNA MARIE DAY FUERST                                                                        Case number (if known)

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
GOLDER LAW LLC                                               Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN MARK L GOLDER                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
101 VILLAGE PKWY BLDG 1 STE
400
Marietta, GA 30067
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
RIVERVIEW LAW OFFICE, PLLC                                   Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
225 N BENTON DRIVE SUITE 209                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Sauk Rapids, MN 56379
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
US SMALL BUSINESS ADMIN                                      Line 4.74 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
MINNESOTA DISTRICT OFFICE                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
330 2nd AVE S STE 430
Minneapolis, MN 55401-2224
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
WEB BANK                                                     Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO BOX 4337                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
Carol Stream, IL 60197-4337
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                     7,002.74
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                     7,002.74

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                    83,787.20
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                1,712,042.34

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                1,795,829.54




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 28 of 28
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                                                                   Document     Page 54 of 93
Fill in this information to identify your case:

Debtor 1                  JOHN DONALD FUERST
                          First Name                         Middle Name              Last Name

Debtor 2                  JOANNA MARIE DAY FUERST
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               DISTRICT OF MINNESOTA

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   JOHN DONALD FUERST
                           First Name                            Middle Name       Last Name

Debtor 2                   JOANNA MARIE DAY FUERST
(Spouse if, filing)        First Name                            Middle Name       Last Name


United States Bankruptcy Court for the:                 DISTRICT OF MINNESOTA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

   3.1                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                      ZIP Code




   3.2                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      JOHN DONALD FUERST

Debtor 2                      JOANNA MARIE DAY FUERST
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF MINNESOTA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            OPERATIONS MANAGER
       Include part-time, seasonal, or
       self-employed work.                                         LUXE LOFTE REAL ESTATE
                                             Employer's name       MEDIA
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   3063 MOUNT RIDGE RD
                                                                   Saint Paul, MN 55113

                                             How long employed there?         DECEMBER 2024 TO
                                                                              PRESENT

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $       13,000.00      $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $     13,000.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   JOHN DONALD FUERST
Debtor 2   JOANNA MARIE DAY FUERST                                                               Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      13,000.00      $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        2,522.00   $                  0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $            0.00   $                  0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $            0.00   $                  0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $            0.00   $                  0.00
     5e.    Insurance                                                                     5e.        $            0.00   $                  0.00
     5f.    Domestic support obligations                                                  5f.        $            0.00   $                  0.00
     5g.    Union dues                                                                    5g.        $            0.00   $                  0.00
     5h.    Other deductions. Specify:                                                    5h.+       $            0.00 + $                  0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            2,522.00     $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          10,478.00      $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              10,478.00 + $           0.00 = $          10,478.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $          10,478.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 JOHN DONALD FUERST                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                 JOANNA MARIE DAY FUERST                                                               A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF MINNESOTA                                                      MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            SON                                  3                   Yes
                                                                                                                                            No
                                                                                   SON                                  7                   Yes
                                                                                                                                            No
                                                                                   DAUGHTER                             8                   Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,150.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            75.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     JOHN DONALD FUERST
Debtor 2     JOANNA MARIE DAY FUERST                                                                   Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                450.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                110.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                404.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,450.00
8.    Childcare and children’s education costs                                                 8. $                                               743.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               125.00
10.   Personal care products and services                                                    10. $                                                 85.00
11.   Medical and dental expenses                                                            11. $                                                500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 475.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  40.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   68.00
      15b. Health insurance                                                                15b. $                                                  860.00
      15c. Vehicle insurance                                                               15c. $                                                  242.00
      15d. Other insurance. Specify: UMBRELLA INSURANCE                                    15d. $                                                   25.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  595.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: STUDENT LOANS - ON DEFERMENT                                    17c. $                                                  850.00
      17d. Other. Specify: HOT TUB LOAN                                                    17d. $                                                  198.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    CHILD ACTIVITIES                                                    21. +$                                                500.00
      VEHICLE TABS                                                                                +$                                                33.00
      GYM MEMBERSHIP                                                                              +$                                               323.00
      DANCE CLASS (JOANNA)                                                                        +$                                               131.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      10,432.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      10,432.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              10,478.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             10,432.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  46.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                    JOHN DONALD FUERST
                            First Name            Middle Name              Last Name

Debtor 2                    JOANNA MARIE DAY FUERST
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:    DISTRICT OF MINNESOTA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ JOHN DONALD FUERST                                            X   /s/ JOANNA MARIE DAY FUERST
             JOHN DONALD FUERST                                                JOANNA MARIE DAY FUERST
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       April 17, 2025                                         Date    April 17, 2025




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  JOHN DONALD FUERST
                           First Name                       Middle Name                  Last Name

 Debtor 2                  JOANNA MARIE DAY FUERST
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MINNESOTA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                04/25
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                                Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $42,000.00           Wages, commissions,                           $0.00
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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 Debtor 2      JOANNA MARIE DAY FUERST                                                                     Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                              Wages, commissions,                       $24,500.00           Wages, commissions,                   $0.00
 (January 1 to December 31, 2024 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                      Wages, commissions,                       $61,666.16            Wages, commissions,            $12,660.04
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                          Unknown            Wages, commissions,               Unknown
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                       $60,525.00           Wages, commissions,                   $0.00
 (January 1 to December 31, 2023 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                      $-173,057.00           Wages, commissions,           $-166,270.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 For the calendar year before that:                FEDERAL TAX                                    $4,800.00
 (January 1 to December 31, 2023 )                 REFUND

                                                   MINNESOTA TAX                                 $-3,087.00
                                                   LIABILITY


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $8,575* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $8,575* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.
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 Debtor 2      JOANNA MARIE DAY FUERST                                                                     Case number (if known)



            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes
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 Debtor 1      JOHN DONALD FUERST
 Debtor 2      JOANNA MARIE DAY FUERST                                                                     Case number (if known)



 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                     Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made




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 Debtor 2      JOANNA MARIE DAY FUERST                                                                     Case number (if known)


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred
       ACCORD FINANCIAL                                          XXXX-                        Checking                  JULY 5, 2024                     $0.00
       5300 CALIFORNIA AVE                                                                    Savings
       Irvine, CA 92617
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       LINCOLN SAVINGS BANK                                      XXXX-                        Checking                  JULY 5, 2024                     $0.00
       1922 INGERSOLL AVE                                                                     Savings
       Des Moines, IA 50309
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       ONE FINANCIAL INC.                                        XXXX-                        Checking                  APRIL 2025                       $0.00
       LOS ANGELES, CA                                                                        Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)




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 Debtor 2      JOANNA MARIE DAY FUERST                                                                          Case number (if known)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case              Status of the
       Case Number                                                   Name                                                                       case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)
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 Debtor 2      JOANNA MARIE DAY FUERST                                                                     Case number (if known)


                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        VOLACIOUS BRANDS LLC                                     MEDIA COMPANY - CHAPTER 7                       EIN:         XX-XXXXXXX
        2010 E HENNEPIN AVE                                      BANKRUPTCY FILED, 24-33457
        Minneapolis, MN 55413                                                                                    From-To      2014 - 12/31/2024 (DATE OF BK
                                                                                                                              FILING)

        ZOTA INC.                                                SHELL COMPANY - DELAWARE                        EIN:         XX-XXXXXXX
        753 IDAHO AVE W                                          C-CORP
        Saint Paul, MN 55117                                                                                     From-To      2020 TO PRESENT


        RIZZ HOMES LLC                                           MINNESOTA COMPANY - REAL                        EIN:         XX-XXXXXXX
        753 IDAHO AVE W                                          ESTATE
        Saint Paul, MN 55117                                                                                     From-To      01/04/2024 TO PRESENT


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ JOHN DONALD FUERST                                                  /s/ JOANNA MARIE DAY FUERST
 JOHN DONALD FUERST                                                      JOANNA MARIE DAY FUERST
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      April 17, 2025                                                Date     April 17, 2025

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:

Debtor 1                  JOHN DONALD FUERST
                          First Name              Middle Name                Last Name

Debtor 2                  JOANNA MARIE DAY FUERST
(Spouse if, filing)       First Name              Middle Name                Last Name


United States Bankruptcy Court for the:     DISTRICT OF MINNESOTA

Case number
(if known)                                                                                                               Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



   Creditor's          ROUNDPOINT MORTGAGE                         Surrender the property.                             No
   name:               SERVICING CORP.                             Retain the property and redeem it.
                                                                                                                       Yes
                                                                   Retain the property and enter into a
   Description of        753 IDAHO AVE W Saint Paul,               Reaffirmation Agreement.
   property              MN 55117 Ramsey County                    Retain the property and [explain]:
   securing debt:        LEGALLY DESCRIBED AS: SEE
                         ATTACHED EXHIBIT A,
                         RAMSEY COUNTY, MINNESOTA
                         PID: 23-29-23-120-035


   Creditor's          TD AUTO FINANCE                             Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of 2019 CHRYSLER PACIFICA                           Reaffirmation Agreement.
   property       75,000+ miles                                    Retain the property and [explain]:
   securing debt: VIN: 2C4RC1GG6KR500230



   Creditor's          WOODLANDS NATIONAL BANK                     Surrender the property.                             No



Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
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Debtor 1      JOHN DONALD FUERST
Debtor 2      JOANNA MARIE DAY FUERST                                                      Case number (if known)


    name:                                                         Retain the property and redeem it.                         Yes

                                                                 Retain the property and enter into a
    Description of   HOT TUB                                     Reaffirmation Agreement.
    property                                                     Retain the property and [explain]:
    securing debt:                                             RETAIN COLLATERAL AND MAKE
                                                              REGULAR MONTHLY PAYMENTS

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ JOHN DONALD FUERST                                             X /s/ JOANNA MARIE DAY FUERST
      JOHN DONALD FUERST                                                     JOANNA MARIE DAY FUERST
      Signature of Debtor 1                                                  Signature of Debtor 2

      Date       April 17, 2025                                          Date     April 17, 2025




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 2
               Case 25-31131                 Doc 1         Filed 04/17/25 Entered 04/17/25 12:43:19                        Desc Main
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LOCAL FORM 1007-1
REVISED 06/16
                                                        United States Bankruptcy Court
                                                                     District of Minnesota
            JOHN DONALD FUERST
 In re      JOANNA MARIE DAY FUERST                                                                         Case No.
                                                                                   Debtor(s)                Chapter    7


                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
bankruptcy case is as follows:

For legal Services, I have agreed to accept ............................                     $   2,500.00
Prior to the filing of this statement I have received                     ..............     $   2,500.00
Balance Due ............................................................................     $   0.00


2.   The source of the compensation paid to me was:
           Debtor                               Other (specify)

3.   The source of the compensation to be paid to me is:
           Debtor                                 Other (specify)

4.      I have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

        I have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people or entities sharing in
the compensation, is attached.

5.    In return for the above-disclosed fee, together with such further fee, if any, as is provided in the written contract
required by 11 U.S.C. §528(a)(1), I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
         petition in bankruptcy;

         b.. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

         c.. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
         thereof;

         d.. Representation of the debtor in contested bankruptcy matters; and

         e.. Other services reasonably necessary to represent the debtor(s).

6. Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirements in the Statement of
Financial Affairs to disclose all payments made, or property transferred, by or on behalf of the debtor to any person,
including attorneys, for consultation concerning debt consolidation or reorganization, relief under bankruptcy law, or
preparation of a petition in bankruptcy. I have reviewed the debtor's disclosures and they are accurate and complete to the
best of my knowledge.



                                                                               Page 1 of 2
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LOCAL FORM 1007-1
REVISED 06/16
                                                   CERTIFICATION

       I certify that the foregoing, together with the written contract required by 11 U.S.C. §528(a)(1), is a complete
statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy case.

Dated: April 17, 2025                                      Signature of Attorney
                                                           /s/ JOHN D. LAMEY III
                                                           JOHN D. LAMEY III 0312009




                                                         Page2 of 2
                       Case 25-31131              Doc 1          Filed 04/17/25 Entered 04/17/25 12:43:19                                 Desc Main
                                                                  Document     Page 72 of 93

 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1               JOHN DONALD FUERST
 Debtor 2               JOANNA MARIE DAY FUERST                                                            1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of Minnesota
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                              $
        Ordinary and necessary operating expenses                           -$
        Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                              $
        Ordinary and necessary operating expenses                           -$
        Net monthly income from rental or other real property               $         Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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 Debtor 1     JOHN DONALD FUERST
 Debtor 2     JOANNA MARIE DAY FUERST                                                                 Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                                $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
               .                                                                              $                                $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +$                      =$

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                   x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ JOHN DONALD FUERST                                                X /s/ JOANNA MARIE DAY FUERST
                JOHN DONALD FUERST                                                      JOANNA MARIE DAY FUERST
                Signature of Debtor 1                                                   Signature of Debtor 2
        Date April 17, 2025                                                       Date April 17, 2025
Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Debtor 1    JOHN DONALD FUERST
 Debtor 2    JOANNA MARIE DAY FUERST                                                              Case number (if known)

                MM / DD / YYYY                                                           MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                           page 3
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Fill in this information to identify your case:

Debtor 1            JOHN DONALD FUERST

Debtor 2           JOANNA MARIE DAY FUERST
(Spouse, if filing)

United States Bankruptcy Court for the:      District of Minnesota

Case number                                                                                      Check if this is an amended filing
(if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                   12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

Part 1:         Identify the Kind of Debts You Have

 1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
    personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
    Individuals Filing for Bankruptcy (Official Form 1).

          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
              supplement with the signed Form 122A-1.
          Yes. Go to Part 2.


Part 2:         Determine Whether Military Service Provisions Apply to You

 2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No. Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                 No.    Go to line 3.
                 Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                        submit this supplement with the signed Form 122A-1.

 3. Are you or have you been a Reservist or member of the National Guard?
          No.     Complete Form 122A-1. Do not submit this supplement.
          Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                 No.    Complete Form 122A-1. Do not submit this supplement.
                 Yes.   Check any one of the following categories that applies:
                                                                                           If you checked one of the categories to the left, go to Form
                        I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                        90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                           submit this supplement with the signed Form 122A-1. You
                        I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                        90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                        which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                           homeland defense activity, and for 540 days afterward. 11
                        I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                        I performed a homeland defense activity for at least 90 days,
                                                                                              If your exclusion period ends before your case is closed,
                        ending on                  , which is fewer than 540 days before I
                                                                                              you may have to file an amended form later.
                        file this bankruptcy case.




Official Form 122A-1Supp                 Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1               JOHN DONALD FUERST
 Debtor 2               JOANNA MARIE DAY FUERST                                                            1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of Minnesota
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                              $
        Ordinary and necessary operating expenses                           -$
        Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                              $
        Ordinary and necessary operating expenses                           -$
        Net monthly income from rental or other real property               $         Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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 Debtor 1     JOHN DONALD FUERST
 Debtor 2     JOANNA MARIE DAY FUERST                                                                 Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                                $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
               .                                                                              $                                $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +$                      =$

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                   x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ JOHN DONALD FUERST                                                X /s/ JOANNA MARIE DAY FUERST
                JOHN DONALD FUERST                                                      JOANNA MARIE DAY FUERST
                Signature of Debtor 1                                                   Signature of Debtor 2
        Date April 17, 2025                                                       Date April 17, 2025
Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Debtor 1    JOHN DONALD FUERST
 Debtor 2    JOANNA MARIE DAY FUERST                                                              Case number (if known)

                MM / DD / YYYY                                                           MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                           page 3
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Fill in this information to identify your case:

Debtor 1            JOHN DONALD FUERST

Debtor 2           JOANNA MARIE DAY FUERST
(Spouse, if filing)

United States Bankruptcy Court for the:      District of Minnesota

Case number                                                                                      Check if this is an amended filing
(if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                   12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

Part 1:         Identify the Kind of Debts You Have

 1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
    personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
    Individuals Filing for Bankruptcy (Official Form 1).

          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
              supplement with the signed Form 122A-1.
          Yes. Go to Part 2.


Part 2:         Determine Whether Military Service Provisions Apply to You

 2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No. Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                 No.    Go to line 3.
                 Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                        submit this supplement with the signed Form 122A-1.

 3. Are you or have you been a Reservist or member of the National Guard?
          No.     Complete Form 122A-1. Do not submit this supplement.
          Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                 No.    Complete Form 122A-1. Do not submit this supplement.
                 Yes.   Check any one of the following categories that applies:
                                                                                           If you checked one of the categories to the left, go to Form
                        I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                        90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                           submit this supplement with the signed Form 122A-1. You
                        I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                        90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                        which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                           homeland defense activity, and for 540 days afterward. 11
                        I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                        I performed a homeland defense activity for at least 90 days,
                                                                                              If your exclusion period ends before your case is closed,
                        ending on                  , which is fewer than 540 days before I
                                                                                              you may have to file an amended form later.
                        file this bankruptcy case.




Official Form 122A-1Supp                 Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4
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                                              United States Bankruptcy Court
                                                        District of Minnesota
         JOHN DONALD FUERST
 In re   JOANNA MARIE DAY FUERST                                                               Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: April 17, 2025                                   /s/ JOHN DONALD FUERST
                                                       JOHN DONALD FUERST
                                                       Signature of Debtor

Date: April 17, 2025                                   /s/ JOANNA MARIE DAY FUERST
                                                       JOANNA MARIE DAY FUERST
                                                       Signature of Debtor
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                      AAA VISA
                      PO BOX 790408
                      SAINT LOUIS MO 63179



                      ACTIVE HEALTH CHIROPRACTIC
                      1278 SELBY AVE
                      SAINT PAUL MN 55104



                      AFFIRM INC
                      650 CALIFORNIA ST FL 12
                      SAN FRANCISCO CA 94108



                      ALLINA HEALTH
                      ATTN: BILLING
                      PO BOX 43, MAIL ROUTE 10807
                      MINNEAPOLIS MN 55440



                      ALLINA HEALTH LABORATORY
                      PO BOX 342
                      MINNEAPOLIS MN 55440



                      AMAZON
                      LEGAL DEPARTMENT
                      PO BOX 81226
                      SEATTLE WA 98108-1226



                      AMAZON WEB SERVICES
                      325 9TH AVE N
                      SEATTLE WA 98109-5210



                      AMAZON.COM INC
                      ATTN GENERAL COUNSEL
                      PO BOX 81226
                      SEATTLE WA 98108



                      AMERICAN EXPRESS
                      PO BOX 60189
                      CITY OF INDUSTRY CA 91716
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                  AMERICAN EXPRESS
                  PO BOX 981535
                  EL PASO TX 79998-1535



                  APPLE CARD
                  GOLDMAN SACHS BANK
                  LOCKBOX 6112, PO BOX 7247
                  PHILADELPHIA PA 19170-6112



                  BANDANA SQUARE ALLINA HEALTH
                  1021 BANDANA BLVD E SUITE 100
                  SAINT PAUL MN 55108



                  BAYFIRST NATIONAL BANK
                  700 CENTRAL AVE
                  MAIL CODE 206
                  SAINT PETERSBURG FL 33701



                  BIBERK
                  PO BOX 113247
                  STAMFORD CT 06911-3247



                  BILL.COM
                  6220 AMERICA CENTER DRIVE
                  SUITE 100
                  ALVISO CA 95002



                  BOGO PEST CONTROL
                  600 TWELVE OAKDS CTR 213
                  WAYZATA MN 55391



                  CADENCE BANK
                  PO BOX 789
                  TUPELO MS 38802



                  CAN CAPITAL
                  2015 VAUGHN RD
                  KENNESAW GA 30144
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                  CAPITAL ONE
                  BANKRUPTCY CORRESPONDENCE
                  PO BOX 30285
                  SALT LAKE CITY UT 84130-0285



                  CAPITAL ONE
                  PO BOX 7683
                  SAN FRANCISCO CA 94120



                  CELTIC BANK
                  268 S STATE ST STE 300
                  SALT LAKE CITY UT 84111



                  CENTRAL PEDIATRICS PA
                  9680 TAMARACK RD STE 100
                  WOODBURY MN 55125



                  CHASE
                  PO BOX 15548
                  WILMINGTON DE 19886



                  CHASE CARDMEMBER SERVICES
                  PO BOX 15548
                  WILMINGTON DE 19886



                  CHOICE BANK
                  2100 W COUNTY RD C
                  ROSEVILLE MN 55113



                  CREDIT COLLECTION SERVICES
                  725 CANTON STREET
                  NORWOOD MA 02062



                  CREDITOR ADVOCATES, INC.
                  PO BOX 1264
                  PRIOR LAKE MN 55372-0864
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                  CROSS RIVERS BANK
                  885 TEANECK ROAD
                  TEANECK NJ 07666



                  DEPARTMENT OF WORKFORCE DEVELOPMENT
                  DIVISION OF WORKERS COMPENSATION
                  PO BOX 7942
                  MADISON WI 53707



                  DISCOVER
                  PO BOX 6103
                  CAROL STREAM IL 60197



                  DIVVY
                  13707 SOUTH 200 W STE 100
                  DRAPER UT 84020



                  E-STATE MEDIA
                  185 ELM STREET
                  BUFFALO NY 14203



                  EARNEST
                  PO BOX 9202
                  WILKES BARRE PA 18773



                  EMERGENCY PHYSICIANS PROF ASSC
                  PO BOX 856561
                  MINNEAPOLIS MN 55485



                  EVALON INC
                  2 CONCOURSE PARKWAY
                  ATLANTA GA 30328



                  FAIRVIEW HEALTH SERVICES
                  PO BOX 199
                  MINNEAPOLIS MN 55440
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                  FIRST & FIRST LLC
                  415 TAFT ST. NE
                  MINNEAPOLIS MN 55413



                  FUNDING METRICS
                  3220 TILLMAN DRIVE SUITE 200
                  BENSALEM PA 19020



                  GEORGIA DEPARTMENT OF REVENUE
                  COMPLIANCE DIV-ARCS-BANKRUPTCY
                  1800 CENTURY BLVD NE, STE 9100
                  ATLANTA GA 30345-3202



                  GOLDER LAW LLC
                  ATTN MARK L GOLDER
                  101 VILLAGE PKWY BLDG 1 STE 400
                  MARIETTA GA 30067



                  GRUMBLES LAW PLLC
                  287 E 6TH ST STE 513
                  SAINT PAUL MN 55101



                  HEADWAY CAPITAL, LLC
                  175 W JACKSON BLVD, STE 1000
                  CHICAGO IL 60604



                  HENNEPIN HEALTHCARE
                  PO BOX 860048
                  MINNEAPOLIS MN 55486



                  IHEALTH INFINITE HEALTH COLLABORATIVE
                  PO BOX 860596
                  MINNEAPOLIS MN 55480



                  IMAGE CAPITAL PARTNERS LLC
                  25 HUTCHINSON PL
                  LYNBROOK NY 11563
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                  INCORP SERVICES INC
                  9107 WEST RUSSELL RD STE 100
                  LAS VEGAS NV 89148



                  INFINITE HEALTH
                  PO BOX 860596
                  MINNEAPOLIS MN 55480



                  JACK S MOORE, OD
                  PO BOX 747
                  HOLLYWOOD MD 20636



                  JPMCB
                  P.O BOX 15369
                  WILMINGTON DE 19850



                  JPMCB CARD SERVICES
                  PO BOX 15369
                  WILMINGTON DE 19850



                  LEGEND FUNDING
                  800 BRICKELL AVE SUITE 902
                  MIAMI FL 33131



                  LG FUNDING
                  1218 UNION ST
                  BROOKLYN NY 11225



                  LUMEN
                  PO BOX 4918
                  MONROE LA 71211



                  M HEALTH FAIRVIEW
                  BILLING DEPARTMENT
                  1700 UNIVERSITY AVE. W
                  ST. PAUL MN 55104
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                  MASSACHUSETTS DEPT OF REV
                  PO BOX 419540
                  BOSTON MA 02241-9540



                  MINNESOTA DEPT OF REV
                  COLLECTION DIVISION
                  PO BOX 64564
                  SAINT PAUL MN 55164-0564



                  MN UNEMPLOYMENT
                  DEPT OF EMPLOYMENT & ECONOMIC DEVELOPMEN
                  PO BOX 4629
                  SAINT PAUL MN 55101



                  NORTH CAROLINA DEPARTMENT OF REVENUE
                  PO BOX 25000
                  RALEIGH NC 27640-0640



                  POR, LLC
                  8441 WAYZATA BOULEVARD
                  MINNEAPOLIS MN 55426



                  PRINCIPAL LIFE INSURANCE CO
                  PO BOX 14513
                  DES MOINES IA 50306-3513



                  RELIANCE RECOVERIES
                  PO BOX 29227
                  MINNEAPOLIS MN 55429



                  REVENUE GROUP
                  3711 CHESTER AVE
                  CLEVELAND OH 44114



                  RIVERLAND BANK
                  1621 E HENNEPIN AVE STE 200
                  MINNEAPOLIS MN 55414
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                  RIVERVIEW LAW OFFICE, PLLC
                  225 N BENTON DRIVE SUITE 209
                  SAUK RAPIDS MN 56379



                  ROUNDPOINT MORTGAGE SERVICING CORP.
                  PO BOX 19789
                  CHARLOTTE NC 28219-9409



                  SAAS LABS US, INC.
                  JUST CALL
                  355 BRYANT STREET, #403
                  SAN FRANCISCO CA 94107



                  STRIPE CAPITAL
                  354 OYSTER POINT BLVD
                  SOUTH SAN FRANCISCO CA 94080



                  SUMMIT ORTHOPEDICS LTD
                  710 COMMERCE DR STE 200
                  WOODBURY MN 55125-4925



                  TD AUTO FINANCE
                  PO BOX 9223
                  FARMINGTON MI 48333



                  TED RATTEI
                  2317 REMO CT
                  SANTA CLARA CA 95054



                  THE GUARDIAN LIFE
                  PO BOX 981590
                  EL PASO TX 79998-1590



                  TMOBILE USA
                  ATTN BANKRUPTCY DEPT
                  PO BOX 53410
                  BELLEVUE WA 98015
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                  TRAVELERS INSURANCE
                  PO BOX 660317
                  DALLAS TX 75266



                  URGENCY ROOM
                  1159 COUNTY RD E E
                  VADNAIS HTS MN 55110



                  US BANK
                  BANKRUPTCY/RECOVERY DEPARTMENT
                  PO BOX 5229
                  CINCINNATI OH 45201



                  US SMALL BUSINESS ADMIN
                  MINNESOTA DISTRICT OFFICE
                  330 2ND AVE S STE 430
                  MINNEAPOLIS MN 55401-2224



                  US SMALL BUSINESS ADMINISTRATION
                  332 S MICHIGAN STE 600
                  CHICAGO IL 60604



                  VITALITY CHIROPRACTIC & WELLNESS
                  393 DUNLAP ST N STE 833
                  SAINT PAUL MN 55104



                  WEB BANK
                  PO BOX 4337
                  CAROL STREAM IL 60197-4337



                  WISCONSIN DEPT OF REV
                  ATTN: BANKRUPTCY
                  PO BOX 8901
                  MADISON WI 53708



                  WOODLANDS NATIONAL BANK
                  424 MAIN STREET
                  ONAMIA MN 56359
